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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                          :
                                                   :
             v.                                    :    CASE NO.
                                                   :
                                                   :
 CHASE ALLEN,                                      :    VIOLATION:
                                                   :    40 U.S.C. § 5104(e)(2)(F)
                       Defendant.                  :    (Act of Physical Violence on U.S. Capitol
                                                   :    Grounds)


                                    INFORMATION

       The United States Attorney charges that at all relevant times:


                                         COUNT ONE

       On or about January 6, 2021, in the District of Columbia, CHASE ALLEN willfully and

knowingly engaged in an act of physical violence in the Capitol Grounds or in any of the Capitol

Buildings.

       (Act of Physical Violence in the Capitol Grounds, in violation of Title 40, United States
       Code, Section 5104(e)(2)(F))

                                                       Respectfully submitted,

                                                       MATTHEW M. GRAVES
                                                       United States Attorney
                                                       D.C. Bar No. 481052


                                             By:       _______________________
                                                       Jennifer Leigh Blackwell
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